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                                 Budget
         21-11045-lgb     Doc 182-1     Filed 11/29/21 Entered 11/29/21 09:35:23        Exhibit
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                      Certa Dose                 Nov 24-Dec 10th Budget


                      Week 1                     Week 2                   Week 3

                      11/24/2021-11/26/2021 11/29/2021-12/3/2021 12/6/2021-12/10/2021
Begging Cash                         $39,000
Cash Receipts
Sales                                      90                    9,990                 390
Royalty Payments
Interim DIP support
Cash Receipts                             $90                   $9,990                $390
Expenses
COGS-EPI
Payroll                                 2,500
Insurance                                                        6,800
Legal Patents                           7,000
Rent & Storage                                                   2,450
IT                                                               5,833
3PL                                                             10,000
Other
In House Accounting                                                                 10,000
Expenses total                         $9,500                  $25,083             $10,000
Net Cash                              ($9,410)               ($15,093)             ($9,610)
Ending Cash                           $29,590                  $14,497               $4,887
Restructuring Cost
(projected)
Legal
Financial Advisor
CRO
Cost                                       $0                       $0                  $0
